          Case 2:08-cr-00125-WBS Document 66 Filed 12/08/09 Page 1 of 3


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 4
     Attorneys for Defendant
 5   EDWARD ROSILLO
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 8                               IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                             CASE NO.: CR-S-08-0125 EJG
11                  Plaintiff,                             STIPULATION AND ORDER
                                                           CONTINUING THE SENTENCING
12           v.                                            HEARING AND EXCLUDING TIME
13   EDWARD ROSILLO, et al.,
14                  Defendants.
15

16           Plaintiff, United States of America, by its counsel, Assistant United States Attorney Jason

17   Hitt, and defendant Edward ROSILLO, by and through his counsel, Evans D. Prieston, Esq.,

18   stipulate and agree that the currently-set sentencing hearing on December 16, 2009, should be

19   continued to January 29, 2010, at 10:00 a.m. The parties further stipulate that the time period from

20   December 16, 2009, up to and including the new status conference date of January 29, 2010, should

21   be excluded from computation of the time for commencement of trial under the Speedy Trial Act,

22   due to the Court, on its own motion, rescheduling the date of the sentencing hearing from

23   December 4, 2009 to December 16, 2009. Counsel for defendant is unavailable on December 16,

24   2009 as he will be traveling to Yakima, Washington to appear at a sentencing hearing in Federal

25   Court on December 17, 2009.

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 1          For these reasons, the defendant, defense counsel, and the government agree to continue the
 2   sentencing hearing date due to defense counsel’s unavailability and, in addition, in the interests of
 3   justice under 18 U.S.C. § 3161(h) (8) (B) (iv) and Local Code T4.
 4                                                 Respectfully Submitted,
 5

 6   Dated: December 3, 2009                       By: /s/ Evans D. Prieston
                                                      Evans D. Prieston
 7                                                    Attorney for Defendant Edward ROSILLO
 8
                                                   McGREGOR W. SCOTT
 9                                                 United States Attorney
10
     Dated: December 3, 2009                       By: /s/ Jason Hitt
11                                                    Authorized to sign for Mr. Hitt on 12/3/09
                                                      JASON HITT
12                                                    Assistant U.S. Attorney
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 1                                                 ORDER
 2            Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED
 3   that:
 4            1.    The sentencing hearing set for December 16, 2009, at 10:00 a.m. is vacated;
 5            2.    A sentencing hearing is set for January 29, 2010, at 10:00 a.m.; and
 6            3.    Based upon the representations and stipulation of the parties, the court finds that the
 7   time exclusion under 18 U.S.C. § 3161(h) (8) (B) (iv) applies and the ends of justice outweigh the
 8   best interest of the public and the defendant in a speedy trial. Accordingly, time under the Speedy
 9   Trial Act shall be excluded from December 16, 2009, up to and including January 29, 2010.
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11   Dated:    December 7, 2009                            /s/ Edward J. Garcia
12                                                         EDWARD J. GARCIA
                                                           United States District Judge
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